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                                             No. 25-2039


                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE NINTH CIRCUIT


                                    EMILY SHILLING, et al.,
                                                         Plaintiffs-Appellees,

                                                   v.

              DONALD J. TRUMP, in his official capacity as President of the United
                                       States, et al.,

                                                         Defendants- Appellants.


                        On Appeal from the United States District Court
                            for the Western District of Washington


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